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                           UNITED STATES DISTRICT COURT
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                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       1ST QUALITY PRODUCE, INC., a             CASE NO. 2:19-cv-7314 CAS(SKx)
  9    California corporation; JHP PRODUCE,
       INC., a California corporation, dba J.
 10    Hellman Produce; DIRECT PRODUCE,         [PROPOSED] PERMANENT
       INC., a California corporation; GO-      INJUNCTION ORDER PURSUANT
 11    FRESH PRODUCE, INC., a California        TO STIPULATION
       corporation; EXCELL PROD, INC. a
 12    California corporation, et al.

 13                Plaintiffs,

 14          vs.

 15    JARZ, INC., a California corporation,
       dba S&L DISTRIBUTION, dba
 16    LIPKIN DISTRIBUTION,

 17                Defendant.

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  1    HENRY AVOCADO CORPORATION,
       a California corporation,
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                  Intervening Plaintiff,
  3
       vs.
  4
       JARZ, INC., a California corporation,
  5    d/b/a S&L DISTRIBUTION, and d/b/a
       LIPKIN PRODUCE a/k/a LIPKINS
  6    PRODUCE,

  7               Defendant.

  8          This Court having read and considered the Stipulation for Entry of Permanent

  9   Injunction Order by the Parties, Plaintiffs 1st Quality Produce, Inc.; Astro Food

 10   Service, Inc.; Baja’s Produce, Inc.; Coosemans L.A., Inc.; Delta Space Corp. dba

 11   Continental Processors; Direct Produce, Inc.; Excell Prod, Inc.; Go-Fresh Produce,

 12   Inc.; Great West Produce, Inc.; JHP Produce, Inc., dba J. Hellman Produce; Los

 13   Angeles Produce Fresh, LLC; Produce International, LLC; S & H Packing and Sales

 14   Co., Inc. dba Season Produce Co.; Scarborough Farms, Inc.; T N T Produce Co.,

 15   Inc.; and VIP Marketing, Inc. (collectively “1QP Group”), and Intervening Plaintiff

 16   Henry Avocado Corporation (“Henry Avo,” with 1QP Group collectively referred

 17   to as “Plaintiffs”), and Defendant Jarz, Inc. dba S&L Distribution, dba Lipkin

 18   Distribution, dba Lipkin Produce and dka Lipkins Produce (“Defendant” and with

 19   Plaintiffs collectively referred to as the “Parties”), and good cause appearing

 20   therefor:

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  1         IT IS HEREBY ORDERED that the Stipulation is granted in its entirety,

  2   specifically:

  3         1.        The Consent Injunction and Agreed Order Establishing PACA Claims

  4    Procedure (“Preliminary Injunction”) [Doc. No. 14] is transitioned to a permanent

  5    injunction with respect to the following:

  6                   a. Defendant acknowledges that Plaintiffs are valid trust creditors

  7                      under the Perishable Agricultural Commodities Act (“PACA”), 7

  8                      U.S.C. § 499e.

  9                   b. Defendant acknowledges that PACA Trust Assets includes, without

 10                      limitation, all perishable agricultural commodities received in all

 11                      transactions, all inventory of food or other products derived from

 12                      such perishable agricultural commodities (“Produce”), all accounts

 13                      receivable or proceeds from the sale of Produce and food or other

 14                      products derived therefrom [7 C.F.R. §46.46(b)], as well as any and

 15                      all assets acquired or maintained with such proceeds, cash, funds in

 16                      bank accounts, assets and other trust assets held in Defendant’s

 17                      names, and all assets commingled therewith (the “PACA Trust

 18                      Assets”).

 19                   c. Defendant acknowledges its assets, including without limitation,

 20                      furniture, fixtures, equipment, vehicles, leases, real property and

 21                      leasehold improvements (the “FF&E”), are presumed to have been


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  1                 acquired with proceeds from the sale of the Produce and are

  2                 impressed with the PACA Trust are deemed to be included within

  3                 the definition of PACA Trust Assets.

  4              d. Plaintiffs acknowledge that Defendant has complied with the

  5                 Preliminary Injunction by turning over liquidated PACA Trust

  6                 Assets to Plaintiffs.

  7              e. Defendant shall turnover and assign to Plaintiffs any remaining

  8                 PACA Trust Assets, specifically:

  9                     i. Defendants’ outstanding accounts receivables and all

 10                       documents related thereto;

 11                    ii. Defendant’s F150 truck and the keys and title documents

 12                       thereto, conditioned upon Plaintiffs’ right of refusal in the

 13                       event storage costs and repairs exceed the estimated fair

 14                       market value;

 15                   iii. Any future refunds or rebates received by Defendant.

 16              f. Defendant shall immediately execute and deliver, or shall cause to

 17                 be executed and delivered, such further instruments of conveyance

 18                 and transfer, and shall take such other actions as Defendants may

 19                 reasonably request, to convey and deliver the PACA Trust Assets to

 20                 Plaintiffs, to perfect Plaintiffs’ title thereto, and to accomplish the

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  1                   orderly transfer of the PACA Trust Assets to Plaintiffs in the manner

  2                   contemplated by this permanent injunction.

  3         2.     Counsel for Plaintiffs 1QP Group, June Monroe of the law firm Rynn

  4   & Janowsky, LLP, shall distribute all remaining funds, the approximate amount of

  5   $30,003.45, in the PACA Trust Account established by paragraph 24 of the

  6   Preliminary Injunction, in the pro-rata percentages set forth in paragraph 8 of the

  7   Order Approving Stipulation Determining the Validity of PACA Trust Claims and

  8   for Interim Distribution (“Validity Order”) [DE 44].

  9         3.     Distribution of any remaining liquidated PACA Trust Assets, turned

 10   over by Defendant and assigned to Plaintiffs, shall be distributed in the pro-rata

 11   percentages set forth in paragraph 8 of the Validity Order, or other percentages

 12   agreed to among Plaintiffs based on the Plaintiffs participating in the collection

 13   efforts of the remaining PACA Trust Assets.

 14         4.     The above-captioned complaint and intervening complaint is

 15   dismissed, without prejudice, pursuant to Rule 41(a)(1) of the Federal Rules of Civil

 16   Procedure.

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  1         5.     The Court shall retain jurisdiction over this matter pursuant to

  2   Kokkonen v. Guardian Life Ins., 511 U.S. 375 (1994) to enforce this permanent

  3   injunction between the Parties as well as all orders entered by the Court in this

  4   matter, which orders shall retain their enforceability.

  5         IT IS SO ORDERED.

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      DATED: October 2, 2020                  ________________________________
  7                                           HON. CHRISTINA A. SNYDER
                                              U.S. DISTRICT COURT JUDGE
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